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                                   May 27, 2005




VIA ELECTRONIC FILING

Hon. David E. Peebles
U.S. Magistrate Judge
Federal Building, U.S. Courthouse
P.O. Box 7345
Syracuse, New York 13261-7345

Re:   Asbestos Workers Syracuse Pension Fund v.
      Delores A. Wells
      Civil Action No. 04-CV-0825 (GLS/DEP)

Dear Judge Peebles:

     The above-referenced case has been held in abeyance pending
the outcome of a bankruptcy case initiated by Defendant.
     A review of the Court’s pacer system shows that Defendant’s
bankruptcy case was closed December 21, 2004. Because
Plaintiff’s claim was discharged in this bankruptcy case, we
respectfully request this Court dismiss our action against
Defendant accordingly.
      Thank you for your time and consideration on this matter.

                                   Respectfully submitted,
                                   BLITMAN & KING LLP


                                   Daniel R. Brice

DRB:tag

cc:   Christopher J. Chadick, Esq.
      Donna Maggiolino, Administrative Manager
      Asbestos Workers Syracuse Benefit Funds
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